     Case 3:21-cv-00259-DCG-JES-JVB Document 7-2 Filed 11/10/21 Page 1 of 16



                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION


LEAGUE OF UNITED LATIN AMERICAN           §
CITIZENS, ET AL.,                         §
                                          §
         Plaintiffs,                      §
                                          §
v.                                        §
                                          §
                                              Case No. 3:21-cv-259-DCG-JES-JVB
GREG ABBOTT, GOVERNOR OF THE STATE        §
OF TEXAS SUED IN HIS OFFICIAL CAPACITY;   §
AND JOHN SCOTT, SECRETARY OF STATE OF     §
TEXAS OF TEXAS SUED IN HIS OFFICIAL       §
CAPACITY,                                 §
                                          §
         Defendants.                      §


                                     EXHIBIT B

                       ORIGINAL COMPLAINT, MORRIS V. TEXAS
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     3:21-cv-00259-DCG-JES-JVB
        4:21-cv-03456 Document 1Document
                                 Filed on 10/20/21
                                          7-2 Filedin11/10/21
                                                      TXSD Page
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  Case
     3:21-cv-00259-DCG-JES-JVB
        4:21-cv-03456 Document 1Document
                                 Filed on 10/20/21
                                          7-2 Filedin11/10/21
                                                      TXSD Page
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     3:21-cv-00259-DCG-JES-JVB
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                                          7-2 Filedin11/10/21
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     3:21-cv-00259-DCG-JES-JVB
        4:21-cv-03456 Document 1Document
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                                          7-2 Filedin11/10/21
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     3:21-cv-00259-DCG-JES-JVB
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     3:21-cv-00259-DCG-JES-JVB
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                                           10/20/21
                                               Filedin11/10/21
                                                       TXSD Page
                                                               Page18ofof816
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  Case
     3:21-cv-00259-DCG-JES-JVB
       4:21-cv-03456 Document 1-1Document
                                   Filed on7-2
                                           10/20/21
                                               Filedin11/10/21
                                                       TXSD Page
                                                               Page29ofof816
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     3:21-cv-00259-DCG-JES-JVB
        4:21-cv-03456 Document 1-1
                                 Document
                                    Filed on7-2
                                             10/20/21
                                                 Filed in
                                                       11/10/21
                                                          TXSD Page
                                                                Page 310ofof8 16
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     3:21-cv-00259-DCG-JES-JVB
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                                             10/20/21
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                                                                Page 411ofof8 16
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     3:21-cv-00259-DCG-JES-JVB
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                                 Document
                                    Filed on7-2
                                             10/20/21
                                                 Filed in
                                                       11/10/21
                                                          TXSD Page
                                                                Page 512ofof8 16
Case
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     3:21-cv-00259-DCG-JES-JVB
        4:21-cv-03456 Document 1-1
                                 Document
                                    Filed on7-2
                                             10/20/21
                                                 Filed in
                                                       11/10/21
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                                                                Page 613ofof8 16
Case
  Case
     3:21-cv-00259-DCG-JES-JVB
        4:21-cv-03456 Document 1-1
                                 Document
                                    Filed on7-2
                                             10/20/21
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                                                       11/10/21
                                                          TXSD Page
                                                                Page 714ofof8 16
Case
  Case
     3:21-cv-00259-DCG-JES-JVB
        4:21-cv-03456 Document 1-1
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                                                       11/10/21
                                                          TXSD Page
                                                                Page 815ofof8 16
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  Case
     3:21-cv-00259-DCG-JES-JVB
        4:21-cv-03456 Document 1-2
                                 Document
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                                             10/20/21
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                                                          TXSD Page
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